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                                                                              AmerisourceBergen
        ORDER MONITORING VERIFICATION/
        INVESTIGATION PROGRAM                                               Policies and Procedures

        Policy Number: CSRA 2.12                                   Effective:        December 1 , 2005
        Written/revised by: Steve Mays                             Revised:               May 8, 2007

        PURPOSE

        To ensure compliance with applicable state and federal regulations,
        AmerisourceBergen Corporation (ABC) has designed this program to review the
        ordering activity of its customers to identify the existence of possible excessive or
        suspicious orders of controlled substances and/or listed chemical products.

        POLICY

        The Corporate Security & Regulatory Affairs (CSRA) department and Distribution Center
        Management will be responsible for identifying potential excessive or suspicious customer
        ordering activity of controlled substances and/or listed chemical products and will initiate
        appropriate investigative steps when possible indicators of such activity are identified. As
        part of this effort, all ABC associates are expected to report to the CSRA department any
        information regarding potential excessive or suspicious orders of controlled substances
        and/or listed chemical products by any ABC customer.

        OVERVIEW OF PROCEDURE

        Investigations into possible excessive/suspicious orders may be initiated through the
        following three sources:

        A. Controlled Substance/Listed Chemical Order Monitoring Program
        B. Notification by DEA
        C. Notification by Distribution Center

        A. Controlled Substance/Listed Chemical Order Monitoring Program

         The following procedures will be conducted as part of the Controlled Substance/Listed
         Chemical Order Monitoring Program:

         1. ABC has developed an Order Monitoring Program (OMP) for controlled substances
         and listed chemicals (See attached Exhibit A).

         2. On a daily basis, the CSRA department will review an order monitoring report that
         identifies ABC customers whose ordering activity is in excess of the guidelines and
         parameters of ordering activity established by ABC. CSRA will investigate all orders in the
         "Hold" or "Cancelled" status to determine whether or not the orders are suspicious. Orders
         that are determined to be suspicious will reported to DEA with out being shipped.




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                                                                   PLAINTIFFS TRIAL
HIGHLY CONFIDENTIAL -ATTORNEYS EYES ONLY                               EXHIBIT                           ABDC000342
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         3. On a monthly basis, the CSRA department will review a customer product mix report
         that will identify customers purchasing greater than a pre-determined percentage of
         controlled substances vs. non-controlled substances. A CSRA associate will investigate
         and identify customers whose purchasing activity warrants further review.

         4. A one year purchase history for controlled substances and/or listed chemical products
         will be reviewed by the CSRA associate for each customer identified in steps #2 and 3.

         5. A CSRA associate will consult with the appropriate Distribution Center (DC) and
         account manager regarding the customer's ordering patterns. If the CSRA associate
         determines that further investigation is appropriate, additional investigative steps will
         include a completion of ABC's Retail Pharmacy Questionnaire (CSRA I Form 590) and a
         customer site visit will be conducted by an ABC associate within two (2) business days.

         6. A CSRA associate will conduct a final review with the CSRA Director after all relevant
         information has been obtained in order for the CSRA Director to determine the appropriate
         resolution of the investigation, which, following consultation with the Legal Department,
         may include immediate cessation of sales of controlled substances and/or listed chemical
         products to the customer.

         7. If sales of controlled substances and/or listed chemicals to the customer are to be
         continued, such sales will be conditioned upon the customer signing one of the
         following documents:

                a. Non-Internet Pharmacy Agreement (CSRA I Form 590a)
                b. Internet Pharmacy Compliance Agreement (CSRA I Form 590b)

            Non-Internet Pharmacy Agreement
            If the customer does not participate in an internet pharmacy operation, an
            authorized customer representative will be required to sign a Non-Internet
            Pharmacy Agreement (CRSA I Form 590a).

            Internet Pharmacy Compliance Agreement
            If the customer participates in an internet pharmacy in which controlled substances
            are dispensed, an authorized customer representative will be required to sign an
            Internet Pharmacy Compliance Agreement (CSRA I Form 590b).

         8. If the customer signs the CSRA I Form 590a, the signed agreement will be maintained
         in the file and the account will remain open and be closely monitored.

         9. If the customer declines to sign the agreement, CSRA will remove the customer's
         ability to purchase controlled substances and/or listed chemicals.

        B. Notification by DEA

         If ABC receives notice from the DEA of possibly excessive or suspicious purchasing
         activity, CSRA will follow Steps 4 through 9 described above. DEA will also be notified
         upon completion of the investigation and will be advised of the disposition of the account.




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        C. Notification by Distribution Center

         If an ABC Distribution Center receives notice of possibly excessive or suspicious
         Purchasing activity, CSRA will follow Steps 4 through 9 described above.

        D. CSRA will establish and maintain a "DO Not Sell List" of customers in which ABC has
           ceased distribution due to suspicious activity, as well as pharmacies identified by other
           sources. CSRA will maintain a distribution list of Sales and Management associates and will
           regularly update and distribute the "Do Not Sell List".




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